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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO
                                    __________

UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                                   No. CR 05-377 BB

CARLOS ADAN ALVARADO,

                    Defendant.


                         SENTENCING MEMORANDUM OPINION


      THIS MATTER is before the Court on whether the Court may sentence under

the United States Sentencing Guidelines or is required to impose a mandatory life

sentence without the possibility of parole. The Court having considered the briefs of the

parties and fully researched the law, finds Defendant’s appearance before the state court

in June 2001 did not result in a final conviction for a felony drug offense under

provisions of the Omnibus Drug Initiative Act contained in 21 U.S.C. § 841(b)(1)(A).

      Factual History

      On January 18, 2001, eighteen-year-old Carlos Alvarado was charged in the

Eleventh Judicial District Court, State of New Mexico, with, inter alia, possession with

intent to distribute methamphetamine and possessing with intent to use drug

paraphernalia (Criminal Information in CR-2001-51-6, attached to United States Brief

in Support of Enhancement). On April 16, 2001, Mr. Alvarado pled guilty to a fourth
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degree felony possession of a controlled substance (methamphetamine) and misdemeanor

possession of drug paraphernalia.      (See Order for Conditional Discharge and

Probationary Supervision, attached to Enhancement Brief).

      The court granted Mr. Alvarado a conditional discharge under Section 31-20-13

NMSA 1978 (2000 Repl. Pamp.). (Id.) Specifically, the court sentenced Mr. Alvarado

in relevant part as follows:

      IT IS HEREBY ORDERED that, without an adjudication of guilt, further
      proceedings herein are deferred for a period of two and a half (2½) years
      and the Defendant is ordered to be placed on probation for a period of two
      and a half (2½) years under the terms and conditions of the standard
      Order of Probation in effect in this District ....

(Id.) Probation not having been revoked, an Order of Release on Conditional Discharge

was filed on January 22, 2004, and the case was dismissed without an “adjudication of

guilt” having ever been entered. (Order of Release on Conditional Discharge, attached

to Enhancement Brief).

      In June 2003, Defendant was arrested and charged again in state court with

felony possession with intent to distribute a controlled substance (methamphetamine).

He pled guilty and there is no dispute this is a felony adjudication for purposes of

computing Defendant’s criminal history.

      Mr. Alvarado committed the instant offenses on January 18, 2005. On June 21,

2005, the United States filed an enhancement pursuant to 21 U.S.C. §§ 841(a)(1)(A) and

851, arguing the 2001 conditional discharge discussed above, when combined with the


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felony possession should be a second felony conviction and result in a mandatory

sentence of life imprisonment without possibility of parole.

       Discussion

       Whether the twenty-three-year-old Defendant must spend his remaining days in

a federal penitentiary or be released after “only” twenty-two years in custody turns on

the meaning of the phrase “prior conviction for a felony drug offense” in 18 U.S.C. §

841(b)(1)(A). After outlining the levels of various drugs, that provision states, inter alia:

       If any person commits a violation of this subparagraph or of section 849,
       859, 860, or 861 of this title after two or more prior convictions for a felony
       drug offense have become final, such person shall be sentenced to a
       mandatory term of life imprisonment without release ....

The Government admits it bears the burden of proving prior convictions sufficient to

serve as a predicate for the statutory enhancement. See 21 U.S.C. § 851; United States

v. Harris, 369 F.3d 1157, 1161 (10th Cir. 2004). If the Government fails to comply with

its statutory obligations or fails to prove that a prior conviction for a felony offense is

valid, the Court is without authority to enhance a defendant’s sentence. United States

v. Novey, 922 F.2d 624, 627 (10th Cir.), cert. denied, 501 U.S. 1234 (1991).

       Under Tenth Circuit precedent, the deferred imposition of a judgment in a

criminal case is not generally a criminal conviction for purposes of federal sentencing.

United States v. Stober, 604 F.2d 1274, 1276 (10th Cir. 1979). In cases where the

imposition of a judgment in a criminal case has been deferred there can be no valid prior

felony conviction because there has been no determination of guilt. United States v.

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Stober, supra at 1276. This is especially true when the statute of conviction explicitly

admonishes that no judgment should be entered. Id. at 1276. Consequently, if the

imposition of judgment in a criminal case was suspended and the state neither revoked

probation nor pronounced judgment, then there is no judgment entered against the

defendant for purposes of the enhanced sentences provided by 21 U.S.C. § 841(b)(1)(A).

United States v. Stallings, 301 F.3d 919, 920-21 (8th Cir. 2002).1

       It is beyond cavil that New Mexico law does not recognize a conditional discharge

as a “conviction for a felony drug offense [which] has become final.” The statute

creating conditional discharge, § 30-31-28 NMSA 1978, provides:

       A discharge or dismissal shall not be deemed a conviction for purposes of
       disqualifications or disabilities imposed by law upon conviction of a crime
       including the penalties prescribed under this section for second or
       subsequent convictions or for any other purpose.

(Emphasis added). The New Mexico courts have followed the clear intent of this

language and held New Mexico law will not permit a conditional discharge to be used

to enhance a criminal drug sentence. State v. Fairres, 81 P.3d 611 (N.M. App. 2003).

A conditional discharge also does not require a person who receives such a discharge to



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                Federal courts have an analogous “conditional discharge” and 18 U.S.C. § 3607
provides special procedures for persons found guilty of misdemeanor possession of a controlled
substance under 21 U.S.C. § 844(b). If a person has not previously been convicted of a drug offense,
the court may defer entry of judgment and place the person on probation for up to one year. When
a defendant is placed on pre-judgment probation, no judgment of conviction is entered. United States
v. Hazelton, 279 F. Supp. 2d 710, 714 (E.D. Va. 2003). “Because an order placing a defendant on
pre-judgment probation does not involve a judgment of conviction, it is not an ‘otherwise final
sentence.’” Ibid.

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register as a sex offender. State v. Herbstman, 974 P.2d 177 (N.M. App. 1998) (refusing

to “render a legislative enactment meaningless”). Indeed, since a conditional discharge

is not a conviction it will not even support the judicial imposition of a $75.00 crime lab

fee. State v. Fairbanks, 82 P.3d 954, 958 (N.M. App. 2003) (“a conditional discharge is

different than a suspended or deferred sentence because there is no adjudication of

guilt”). Under New Mexico law, then, it is clear Mr. Alvarado’s conditional discharge

could not be considered a “final2 conviction for a felony drug offense.”

       There is a range of opinion as to how the term “conviction” under 21 U.S.C. § 841

should be defined. One panel of the Eighth Circuit has relied on state law to determine

the sentencing impact of a prior state proceeding and state decisions defining the term

“conviction.” United States v. Stallings, 301 F.3d at 921-22. Others have considered

state law but on the facts found it consistent with the federal standard. United States v.

McAllister, 29 F.3d 1180, 1185 (7th Cir. 1994); United States v. Gomez, 24 F.3d 924, 930

(7th Cir. 1994); United States v. Cisneros, 112 F.3d 1272, 1280-82 (5th Cir. 1997); United

States v. Campbell, 980 F.2d 245 (4th Cir. 1992). Still other courts hold since § 841

makes no reference to state law the Court is free to create a federal definition of



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               The issue of whether a conviction is “final” must be determined under federal law.
United States v. Short, 947 F.2d 1445, 1460 (10th Cir. 1991). In spite of the fact it is “conditional,”
several federal courts have found finality on state diversionary statutes under 21 U.S.C. §
841(b)(1)(A). United States v. Miller, 434 F.3d 820 (6th Cir. 2006); United States v. Meraz, 998
F.2d 182 (3d Cir. 1993); United States v. Campbell, 980 F.2d 245 (4th Cir. 1992) (when revoked
probation became a final conviction). A conditional discharge would also be “final” as it is appealable
under New Mexico law. State v. Durant, 7 P.3d 495 (N.M. App. 2000).

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conviction which is directly contrary to state law. United States v. Graham, 315 F.3d

777, 783 (7th Cir. 2003); United States v. Franklin, 250 F.3d 653, 665 (8th Cir. 2001);

United States v. Mejias, 47 F.3d 401 (11th Cir. 1995) (per curiam).

       This Court believes to employ the New Mexico statute contrary to its express

language would implicate important constitutional principles. To ignore the statutory

interpretation of a New Mexico statute mandated by the New Mexico courts would do

damage to the rationale undergirding both full faith and credit and comity. See

Employers Reinsurance Corp. v. Mid-Continent Cas. Co., 358 F.3d 757 (10th Cir. 2004)

(both state and federal courts should give effect to valid judgments). Here, it is apparent

that Mr. Alvarado’s guilt for the 2001 drug offense was never established by a final

guilty plea or by a finding of guilt by the courts of New Mexico. On the contrary, his

plea was not accepted, the judgment was withheld, and the proceedings were deferred;

the case was ultimately dismissed without any adjudication of guilt.

       To use a state proceeding in a fashion contrary to the express purpose of the state

proceeding would also be contrary to congressional expressions that the Omnibus Drug

Initiative Act, from which § 841 derived, “should be a partnership of the federal, state,

and local governments ...” 134 CONG. REC. E2881-01 (1988). Cf. COMPREHENSIVE

ALCOHOL ABUSE, DRUG ABUSE AND MENTAL HEALTH AMENDMENTS OF 1988, Report

100-927, 100th Cong. (the purpose of the Act is “to continue the Federal Government’s




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partnership with the states in the development, maintenance, and improvement of

community-based alcohol and drug abuse programs ....”).

       To interpret the New Mexico conditional discharge in a fashion contrary to well

established New Mexico law also raises a question of due process when 21 U.S.C.

§ 841(a) does not itself define the type “prior conviction” which will result in life

imprisonment. “Vague sentencing provisions may pose constitutional questions if they

do not state with sufficient clarity the consequences of violating a given criminal

statute.” United States v. Batchelder, 442 U.S. 114, 123 (1979); United States v.

Gallagher, 99 F.3d 329, 334 (9th Cir. 1996) (quoting Batchelder). In such a context,

ambiguities as to the applicable penalty must be resolved in favor of lenity. Batchelder,

442 U.S. at 123. New Mexico’s clear refusal to allow a conditional discharge as a basis

for any type of enhancement or even costs does not provide any notice that someone

previously subject to such a disposition may nonetheless be a predicate for life

imprisonment.

       The two alternatives for sentencing Defendant Alvarado are:                       (1) life

imprisonment without possibility of release; or (2) a guideline sentence of 240-262

months (20-22 years).3 An enhancement resulting from minor crimes resulting in life

imprisonment without a possibility of parole has been held to violate the Eighth

Amendment. Solem v. Helm, 463 U.S. 277 (1983); People v. Gaskins, 923 P.2d 292 (Colo.

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              The Court considered 18 U.S.C. § 3553 but found no factors in the facts of this case
that would suggest an appropriate deviation from the Guidelines.

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App. 1996). Whether the Eighth Amendment requires a proportionality analysis and,

if so, its scope, however, remains ambiguous. See Ewing v. California, 538 U.S. 11, 31-2

(2003); Harmelin v. Michigan, 501 U.S. 957 (1991). At the least, using a plea to a crime

the state sentencing authority did not think significant enough to use to even impose a

fine, would seem to raise disproportionality problems when used as a predicate for the

imposition of a sentence of life without the possibility of parole.



       DATED this 20th day of July, 2006.



                                                 _______________________________
                                                 BRUCE D. BLACK
                                                 United States District Judge




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